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 3   San Francisco, California 94103
     (415) 864-5600
 4
     Attorneys for Defendant WEI HU
 5

 6                                   UNITED STATES DISTRICT COURT

 7                                   EASTERN DISTRICT OF CALIFORNIA

 8

 9   UNITED STATES OF AMERICA,                         No. 2:14-CR-00220-KJM

10                      Plaintiff,                     STIPULATION & ORDER TO MODIFY
                                                       PRETRIAL RELEASE CONDITIONS
11          v.

12   WEI HU,

13                      Defendant.

14

15          Defendant herein, Wei Hu, is on pretrial release; presently he is on electronic home

16   monitoring. Mr. Hu has had no problems while on pretrial release. His present curfew requires
17   him to be at home between the hours of 7 p.m and 7 a.m.
18
            Pretrial Services Officer Renee Basurto contacted defense counsel and informed him that
19
     the defendant has been in complete compliance with his conditions of release, that is: the
20
     defendant has been on supervision since 9/4/14 and is close to his five month evaluation; he has
21

22   been testing as directed; participating in mental health counseling once monthly; providing proof

23   of employment; and abiding by his curfew with no violations since his release. Therefore,

24   Pretrial Services is of the position that the electronic home monitoring condition is no longer
25
     necessary. Ms. Basurto has provided a list of amended special conditions of release which is
26
     attached to this stipulation and incorporated herein.
27
            As such, defendant is requesting that the court modify defendant Wei Hu’s conditions of
28
                                                      1
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 1   pretrial release to remove the requirement of electronic home monitoring.
 2          Assistant U.S. Attorney Michael McCoy has informed defense counsel that he has no
 3
     objection to the proposed modification.
 4
            It is hereby stipulated by Stuart Hanlon, attorney for defendant herein, Wei Hu, and
 5
     Michael McCoy, Assistant U.S. Attorney that Mr. Hu’s pretrial release conditions be modified to
 6

 7   discontinue electronic home monitoring.

 8          All other conditions of pretrial release remain the same as reflected in the attached

 9   Amended Special Conditions of Release.
10

11   Dated: January 27, 2015                              s/Stuart Hanlon, CSBN: 66104
                                                          LAW OFFICES OF HANLON & RIEF
12                                                        179 11th Street, 2nd Floor
                                                          San Francisco, CA 94103
13                                                        415/864-5600
                                                          stuart@stuarthanlonlaw.com
14

15   Dated: January 27, 2015                              s/Michael McCoy
                                                          Assistant U.S. Attorney
16                                                        Office of the U.S. Attorney

17

18

19                                               ORDER

20
            Good cause having been shown by stipulation of the parties herein,
21
            IT IS HEREBY ORDERED that defendant, Wei Hu’s, pretrial release conditions be
22

23   modified to remove the condition of electronic home monitoring. All other conditions of pretrial

24   release remain the same as reflected in the attached Amended Special Conditions of Release
25   Dated: January 28, 2015
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27

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                                                      2
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 1
                    AMENDED SPECIAL CONDITIONS OF RELEASE
 2
                                                               Re: Wei Hu
 3                                                             No.: 2:14-CR-0220-KJM
                                                               Date: January 26, 2015
 4
     1. You shall report to and comply with the rules and regulations of the Pretrial Services
 5      Agency;

 6   2. You shall report in person to the Pretrial Services Agency on the first working day
        following your release from custody;
 7   3. You are to reside at a location approved by the pretrial services officer and not move or
        absent yourself from this residence for more than 24 hours without the prior approval of
 8
        the pretrial services officer;
 9   4. You shall cooperate in the collection of a DNA sample;
10   5. Your travel is restricted to the Eastern District of California unless otherwise approved in
        advance by the pretrial services officer;
11
     6. You shall surrender your passport to the Clerk, U. S. District Court, and obtain no
12      passport during the pendency of this case;

13   7. You shall not possess a firearm/ammunition, destructive device, or other dangerous
        weapon; additionally, you shall provide written proof of divestment of all
14      firearms/ammunition currently under your control;
     8. You shall seek and/or maintain employment and provide proof of same as requested by
15
        your pretrial services officer;
16   9. You shall refrain from excessive use of alcohol or any use of a narcotic drug or other
        controlled substance without a prescription by a licensed medical practitioner; and you
17
        shall notify Pretrial Services immediately of any prescribed medication(s). However,
18      medicinal marijuana, prescribed or not, may not be used;
     10. You shall submit to drug and/or alcohol testing as approved by the pretrial services
19
         officer. You shall pay all or part of the costs of the testing services based upon your ability
20       to pay, as determined by the pretrial services officer;
     11. You shall participate in a program of medical or psychiatric treatment, including treatment
21       for drug or alcohol dependency, as approved by the pretrial services officer. You shall pay
22       all or part of the costs of the counseling services based upon your ability to pay, as
         determined by the pretrial services officer;
23   12. You shall not associate or have any contact with your co-defendants, unless in the
24       presence of counsel or otherwise approved in advance by the pretrial services officer;
     13. You shall report any contact with law enforcement to your pretrial services officer within
25       24 hours; and,
26   14. You shall not list your home for sale nor encumber it in any way, without the prior
         approval of Pretrial Services.
27

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                                                   3
